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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 12-CV-20695-COOKE/TURNOFF


     HUGH F. CULVERHOUSE, individually
     and on behalf of all others similarly situated,

                     Plaintiff,

     vs.

     PAULSON & CO. INC. and
     PAULSON ADVISERS LLC,

                     Defendants.


                           FIRST AMENDED CLASS ACTION COMPLAINT

             Plaintiff, Hugh F. Culverhouse ("Plaintiff" or "Culverhouse"), individually and on behalf

     of all others similarly situated, sues Defendants, Paulson & Co. Inc. ("Paulson & Co.") and

     Paulson Advisers LLC ("Paulson Advisers"), and alleges as follows:

                                              INTRODUCTION

             I.      Plaintiff and members of the Class defined below are persons who held limited

     partner interests in the Paulson Advantage Plus, L.P. hedge fund ("Paulson Advantage Plus") or

     invested in one of its many "pass-through" feeder hedge fund platforms (the "Platform Funds")

     and lost money in their individual accounts when Paulson Advantage Plus sold its holdings in

     Sino-Forest Corporation ("Sino-Forest") at a loss of approximately $460 million.

             2.      Sino-Forest purportedly operates commercial forest plantations in the People's

     Republic of China. Defendants caused Paulson Advantage Plus to invest in Sino-Forest in 2007

     amidst rumors that Sino-Forest was an acquisition target whose stock might quickly earn a
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     premium. With only short-term plans for Sino-Forest's stock, Defendants failed to expend the

     resources to conduct the proper initial due diligence into Sino-Forest's operations.

               3.   Despite the rumors, Sino-Forest never was acquired. Yet Paulson Advantage Plus

     and its unIeveraged sister fund, Paulson Advantage L.P. ("Paulson Advantage"), continued to

     invest in the company.       By 2011, the two funds collectively were Sino-Forest's largest

     shareholder, holding approximately $800 million in shares (or about 14% of the company).

     While Defendants collected significant management and incentive fees from members of the

     class during that span, Defendants failed to conduct any further adequate due diligence of Sino-

     Forest.

               4.   On June 2, 2011, Sino-Forest came crashing down. The investment firm Muddy

     Waters, LLC ("Muddy Waters"), after conducting its own due diligence analysis of Sino-Forest,

     issued an alarming report (the "Muddy Waters Report") that exposed how Sino-Forest overstated

     the value and scope of its Chinese timber holdings and engaged in other questionable conduct.

               5.    Publicly, Defendants supported Sino-Forest's management. But in the two weeks

     following the Muddy Waters Report, Defendants sold Paulson Advantage Plus' entire stake in

     Sino-Forest at a substantial loss estimated to be more than $460 million, immediately causing

     proportionate losses to the capital accounts of all investors.

               6.    In response to the serious issues raised in the Muddy Waters Report, Sino-Forest

     established an independent committee of the company (the "Independent Committee") to

     investigate. In a series of reports issued during the course of an eight-month investigation, the

     Independent Committee failed to dispel most of the key issues raised by the Muddy Waters

     Report, including issues relating to the company's forestry assets and certain questionable

     related-party transactions. They also were unable to opine that Sino-Forest's business operations



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     were legal under Chinese law. The Independent Committee reported that it was unable to get to

     the bottom of these issues largely due to the opacity and complexity of Sino-Forest's Chinese

     operations and the Chinese forestry industry in general.

              7.        In August 2011, the Ontario Securities Commission suspended trading of Sino-

     Forest, and urged the company's top executives to resign. Sino-Forest has since filed for

     protection of the bankruptcy laws.

              8.        Plaintiff and members of the Class incurred losses in their capital accounts

     relating to Sino-Forest because Defendants breached their fiduciary duties by conducting a

     grossly negligent due diligence analysis of Sino-Forest's business operations that did not analyze

     the substantial risks of holding a near-billion-dollar investment in a forestry company based in

     China.        China's business environment, particularly in its timber industry, features complex

     structures and operations that differ significantly from those in other industrialized countries.

     Defendants' reckless indifference to Plaintiff's and Class members' investments, and failure to

     conduct the required due diligence in this foreign environment, amounts to gross negligence and

     a breach of Defendants' fiduciary duties to the Plaintiff and members of the Class.

                                       PARTIES AND JURISDICTION

              9.        Plaintiff Hugh F. Culverhouse is a citizen andresident of the State of Florida who

     resides in Miami, Florida. Culverhouse held a limited liability company interest in HedgeForum

     Paulson Advantage Plus, LLC, one of the Platform Funds, at the time that Paulson Advantage

     Plus sold off all of its Sino-Forest holdings in June 2011.

              10.       Defendant Paulson & Co. Inc. is a Delaware corporation based in New York City

     with its principal place of business at 590 Madison Avenue, 29 th Floor, New York, New York

      10022. It serves as the administrative general partner of Defendant Paulson Advantage Plus.



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            11.     Defendant Paulson Advisers LLC is a Delaware limited liability company with its

     principal place of business at 590 Madison Avenue, 29th Floor, New York, New York 10022.

     None of its members resides in Florida.       Paulson Advisers serves as the managing general

     partner of Paulson Advantage Plus.

            12.     Together, Paulson & Co. and Paulson Advisers manage Paulson Advantage Plus

     and make all investment decisions relating to monies invested in Paulson Advantage Plus both

     directly and from investments made through its Platform Funds.

             13.    This Court has subject matter jurisdiction over the claims raised in this Class

     Action Complaint pursuant to 28 U.S.C. § 1332(a) because Plaintiff and Defendants are citizens

     of different states and the relief being sought by Plaintiff and each Class member involves a sum

     greater than $75,000, exclusive of costs, interest and attorney's fees.

             14.    This Court has personal jurisdiction over Defendants in accordance with Sections

     48.193(1)(f)(1) andlor 48.193(2), Fla. Stat. During the time that Defendants were engaging in

     service activities within Florida, Defendants caused injury to persons in Florida through acts or

     omissions taken by Defendants outside of Florida. Defendants also engaged in substantial and

     not isolated activity in Florida. Defendants purposely directed their activities to residents of this

     forum, and injured residents of this forum, by selling shares in Paulson Advantage Plus directly

     to clients in this forum, as well as through other distribution channels or "platforms" such as

     brokerage firms in this forum, without conducting proper due diligence of Sino-Forest.

                                       GENERAL ALLEGATIONS

                     Investing in Paulson Advantage Plus Through Platform Funds

             15.    Persons seeking to invest in Paulson Advantage Plus have the option of either

     investing directly and acquiring a limited partner interest in Paulson Advantage Plus, or investing



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     through Platfonn Funds that are "pass-through" feeder hedge funds that invest exclusively in

     Paulson Advantage Plus ("Pass-Through Investors").

            16.     HedgeForum Paulson Advantage Plus, LLC ("HedgeForum PAP',) is one such

     Platform Fund. According to the Amended and Restated Limited Liability Company Agreement

     of HedgeForum Paulson Advantage Plus, LLC, HedgeForum PAP was organized for the

     purpose of investing its assets in Paulson Advantage Plus, L.P. Its offering memorandum

     provides that HedgeForum PAP invests "substantially all of its assets" in Paulson Advantage

     Plus and follows the same investment objective and strategies.

             17.    Plaintiff acquired a limited liability company interest in HedgeForum PAP prior

     to June 2, 2011.

             18.    Platform Funds like HedgeForum PAP offer investors the opportunity to invest in

     Paulson Advantage Plus with a substantially smaller minimum investment than is required for a

     direct investment in Paulson Advantage Plus. HedgeForum PAP and the other Platfonn Funds

     therefore attract a broader range of investors, including those who want to invest no more than

     $100,000. They serve as important additional conduits for the marketing of Paulson Advantage

     Plus to investors.

             19.    Defendants and Paulson Advantage Plus entered into a fonnallicensing and

     marketing relationship with HedgeForumPAP and its manager, Citigroup Alternative

     Investments LLC ("CAl"), to assist CAl and HedgeForum PAP in marketing to investors on

     behalf of Paulson Advantage Plus.

             20.    The tenns of that relationship are described in letter agreements dated October 26,

     2006 and January 1, 2009 ("Letter Agreements"). A copy of the Letter Agreements are attached

     as Exhibits A and B.


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                       21.      Key terms of the Letter Agreements include the following:

                                    a. Paulson Advantage Plus, L.P. Fund reserves capacity of up to at least

                             $300 million for HedgeForum PAP investors.

                                    b. CAl receives a paid-up royalty-free license to use the name "Paulson"

                             andlor "Paulson Advantage Plus, L.P." and related logos in connection with the

                             solicitation and maintenance of investors for the HedgeForum PAP feeder and

                             Paulson Advantage Plus, L.P. Fund.

                                    c. Defendants and Paulson Advantage Plus, L.P. Fund agree to assist CAl in

                             its marketing efforts related to its single manager platform and in the creation of

                             marketing documentation including information about the Defendants and Paulson

                             Advantage Plus. This includes preparation of facts sheets that include information on

                             Paulson Advantage Plus' investment strategy and process. Defendants control the

                             process by retaining ultimate review and approval rights over all such documentation.

                                    d. Defendants agreed to share their confidential information and fumish CAl

                             and HedgeForum PAP with updated data about Paulson Advantage Plus, and

                             warranted the truthfulness and accuracy of that information.

                                    e. Defendants agreed to allow CAl and HedgeF orum PAP to publicize their

                             relationship with Defendants and Paulson Advantage Plus to investors.

                                     f.   Defendants agreed to indemnify CAl and HedgeForum PAP for gross

                             negligence claims.

                       22.       These Letter Agreements and the Confidential Memorandum of HedgeForum

     Paulson Advantage Plus,LLC ("HedgeForum Confidential Memorandum"), a copy of which is

     attached as Exhibit C, along with other marketing materials for HedgeForum PAP prepared



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     under the supervision and control of Defendants for distribution to HedgeF orum PAP investors,

     reveal the significant ties between HedgeForum PAP and Paulson Advantage Plus. They show

     that HedgeForum PAP is merely a pass-through, or conduit, for investors to invest through

     HedgeForum into Paulson Advantage Plus. These documents provide that Paulson Advantage

     Plus exercises exclusive responsibility for all investment and trading activities for persons

     investing in Paulson Advantage Plus through HedgeForum PAP, and HedgeForum's managing

     member renounces any responsibility for Defendants' investment-related decisions. Thus,

     Defendants are fully cognizant that HedgeForum PAP investors are entrusting Defendants and

     Paulson Advantage Plus to make all investment decisions, and that they are reposing trust and

     confidence in Defendants. By accepting such funds under this pass-tlu'ough relationship,

     Defendants have accepted such responsibility and therefore owe a fiduciary duty to such

     investors.

             23.    Under this arrangement, HedgeForum PAP operates as the mere agent of

     Defendants, and as such, all investments made into Paulson Advantage Plus through

     HedgeForum PAP raise the same fiduciary duties as those made directly into Paulson Advantage

     Plus. Similarly, all Pass-Through Funds operate as the mere agents of Defendants, and as such,

     all investments made into Paulson Advantage Plus through the Pass-Through Funds raise the

     same fiduciary duties as those made directly into Paulson Advantage Plus.

                              Investing in Paulson Advantage Plus Directly

             24.    Other members of the Plaintiff class executed the Limited Partnership Agreement

     of Paulson Advantage Plus, L.P. ("Limited Partnership Agreement") and became "Limited

     Partners" prior to June 2, 2011. An unsigned copy ofthe Limited Partnership Agreement is

     attached as Exhibit D.



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            25.     The Limited Partnership Agreement provides that upon each partner's admission

     to the partnership, a capital account is established on the books of the partnership for that partner

     in the amount of the partner's initial capital contribution.

             26.     The Limited Partnership Agreement is structured so that all losses are allocated to

     each partner's capital account. No losses are ever incurred by Paulson Advantage Plus.

             27.     Each limited partner pays Defendants certain management and incentive fees.

     Specifically, a management fee payable to Paulson & Co. is charged to each partner's capital

     account each month (the "Management Fee"). The Management Fee amounts to 2% of the

     assets in each capital account yearly. In addition, a fee equal to 20% of the yearly aggregate net

     gain in each limited partner's capital account is reallocated each year from each limited partner's

     capital account to Paulson Advisers (the "Incentive Allocation").

             28.     HedgeForum PAP is a limited partner of Paulson Advantage Plus, with a capital

     account established on the books of the partnership.

             29.     All profits and losses generated by HedgeForum PAP, and the cost of all

     management and incentive fees paid by HedgeForum PAP, are immediately passed along to the

     Pass-Through Investors' accounts at HedgeForum.

             30.     No profits or losses are suffered by HedgeForum PAP. Instead, they are made or

     incurred by each Pass-Through Investor.

                           Defendants' Standards in Conducting Due Diligence

             31.     Defendants' own standards of due diligence included the following: (i) making

     trading decisions based upon "both internally generated research and research obtained from

     outside sources such as sell-side research analysts, company officials, other investors, lawyers

     and consultants, in order to consider relevant investment, legal and regulatory issues," and (ii)



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     continually monitoring each investment "to factor in all current information relating to the

     issuers of specific securities, other companies involved in an investment situation, and the

     financial markets." Paulson Confidential Private Offering Memorandum at 6, included as an

     exhibit to Exhibit C.

            32.     The objective of Paulson Advantage Plus is to opportunistically invest in event-

     driven special situations that are generally not held long term. Before making such investments,

     Defendants were required to fully understand the risks surrounding those investments, by

     analyzing industry fundamentals, gaining a clear understanding of the fundamental drivers of

     growth, profitability and performance, understanding how companies in the industry trade, and

     actively managing positions in such event-driven investments over time to maximize returns and

     limit losses as such investments are exited.

             33.    Among the securities traded in Paulson Advantage Plus are foreign securities.

     Defendants' duty to conduct due diligence is heightened when considering and monitoring

     investments in foreign securities.

                                   Defendants' Trading in Sino-Forest

             34.     Defendants began researching Sino-Forest in January 2007. At the time, Sino-

     Forest had been identified in the financial press as a potential takeover target. Sino-Forest

     purportedly was the leading commercial forest plantation operator in the People's Republic of

     China. Its shares were traded on the Toronto Stock Exchange.

             35.     Seeing Sino-Forest as a short-term investment, Defendants speculated that the

     company would be acquired or that it could possibly be relisted from the Toronto Stock

     Exchange to a local exchange.




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            36.     Defendants began purchasing Sino-Forest stock through Paulson Advantage Plus

     in 2007. Sino-Forest was never acquired or relisted. Yet Defendants continued to purchase

     Sino-Forest until Paulson Advantage Plus, collectively with its sister fund, Paulson Advantage,

     became the company's largest investor. In May 2011, their collective position in Sino-Forest

     was 31 million shares, or approximately 14% of those outstanding.

                        Due Diligence Conducted on Sino-Forest by Third Parties

            37.      Sino-Forest's business centered primarily on tree plantations. Sino-Forest utilized

     two business models, the "purchased plantation" model and the "planted plantation" model. The

     purchased plantation model utilized (i) certain company-controlled British Virgin Islands-based

     subsidiaries ("BVIs") and (ii) supposedly independent "authorized intermediaries" in China. The

     planted plantation model utiliied a structure of "wholly foreign owned enterprises" incorporated

     in China.

            38.      In 2011, various third parties conducted due diligence analyses of Sino-Forest's

     business operations and raised sedous questions and issues about those operations.

             39.     On June 2,20]1, Muddy Waters, a securities research firm, published its 39-page

     research report charging, inter alia, that Sino-Forest had significantly exaggerated its timber

     holdings, that it did not hold actual title to the timber assets it claimed to own, and that its public

     disclosUres and financial statements were incorrect.

             40.     The report also questioned the legitimacy of the company's fimdamental business

     models. Muddy Waters uncovered evidence showing that the third-party transactions involving

     BVIs and authorized intermediaries, through which Sino-Forest purported to accomplish its

     purchases and sales, actually involved related parties. Muddy Waters discovered that the

     authorized intermediaries supplied, processed and bought Sino-Forest;s raw timber, and that



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     Sino-Forest only assumed risks and obligations during a short period oftime when the raw

     timber was waiting to be processed. This structure allowed Sino-Forest to avoid generating

     traceable tax records, and allowed Sino-Forest to invent sales figures.

            41.·      Shortly thereafter, Augment Partners, another investment research service,

     reviewed the Muddy Waters Report and agreed that Sino-Forest "did not deserve anywhere near

     its pre-Muddy Waters valuation." While Augment Partners did not agree with all of Muddy

     Waters' conclusions, it identified critical unresolved issues that raised business, tax, legal and

     accounting risks that might have been appreciated had investors like Defendants obtained a

     proper understanding of Sino-Forest's "opaque" business model. Augment Partners concluded

     that Sino-Forest's future growth projections depended upon a "Ponzi-like" scheme.

                               Sino-Forest's Independent Committee Findings

             42.      On June 2, 2011, Sino-Forest formed an Independent Committee of the Board of

     Directors to investigate the issues contained in the Muddy Waters Report. Since then, the

     Independent Committee has published two interim reports and a final report (the "Independent

     Committee Reports") that have uncovered numerous irregularities and failed to explain many of

     the concerns raised by the Muddy Waters Report. Through the Independent Committee Reports,

      Sino-Forest confirmed that there are numerous and significant issues surrounding Sino-Forest's

      holdings and the legality of its operations in China. For example, the Independent Committee

     Reports confirmed that:

                          a. Sino-Forest's valuation of, and claimed interest in, its forestry holdings

                   could not be verified. The report disclosed missing records, difficulties in obtaining

                   data, a lack of cooperation from some company executives and an absence of any

                   corporate internal auditing function;



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                     b. Sino-Forest does not obtain registered title to plantations purchased by its

             BVls, and Sino-Forest's rights to such plantations therefore may be open to

             challenge. The Independent Committee noted that confirmations provided by the

              Chinese forestry bureau are not officially recognized documents and do not reflect

              any legal interest in, or title to, land or timber. There is a significant distinction

             between plantation operators' ownership of standing timber and leasing of the

              underlying land on the one hand, and plantation operators' ownership of the land

              itself on the other hand. In China, land generally can only be owned by the

              govemment and farmer collectives;

                      c; to the extent purchase and sales transactions were made with related

              parties, Sino-Forest's accounting would be negatively impacted;

                      d. the Independent Committee could not verify movements of cash in

              connection with set-off arrangements made through Sino-Forest's authorized

              intermediaries, implying that transactions recorded on Sino-Forest's books may have

              had no financial substance;

                      e.   Sino-Forest has close relationships with
                                                                 .  certain suppliers, and certain
                                                                           , -                ,




              suppliers and authorized intermediaries (who sell its timber in the Chinese market)

              have cross-ownership and other relationships with each other. The Independent

              Committee reported that it could not obtain information from those third parties

              (many of which were not cooperating with the investigation) to examine the nature of

              Sino-Forest's relationships with these authorized intermediaries. If suppliers and

              purchasers were related to each other and to Sino-Forest, substantial doubt would




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                  exist as to the validity andlor genuineness of transactions recorded in Sino-Forest's

                  records, and any revenue reflected on Sino-Forest's financial statements;

                         f.   the BVI structure used by Sino-Forest for its core activity of purchasing

                  and selling standing timber assets - "a central driver of asset value, revenue and

                  income for" Sino Forest - could be challenged by Chinese authorities as contrary to

                  Chinese law, which prohibits the undertaking of business activities within China by

                  foreign companies who do not have an onshore presence; and

                         g. the company obtained its listing on the Toronto Stock Exchange through a

                  reverse takeover of a dormant Canadian firm, a practice that has been heavily

                  criticized as a way to circumvent regulatory scrutiny.

                         Sino-Forest's Shares Plummet and Trading Is Suspended

            43.       Within two days of the Muddy Waters Report's publication,the market value of

     Sino-Forest's shares fell approximately 70%.

            44.       Although Defendants publicly supported Sino-Forest's management after the

     release of the Muddy Waters Report, they sold Paulson Advantage Plus' entire stake in Sino-

     Forest between June 6 and June 17,2011. The capital accounts of the Limited Partners and Pass-

     Through Investors incurred substantial losses estimated to be approximately $460 million, or

     more than 2% of their total value.

            45.       On August 26, 2011, Sino-Forest's shares were suspended on the Toronto Stock

     Exchange by Canada's main securities regulator, which began an investigation into the

     allegations of fraud. Those shares remain suspended.

            46.       In August 2011, four top Sino-Forest executives resigned, including the CEO and

     founder.



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            47.      In the aftermath of the Muddy Waters Report and the collapse and cessation of

     trading of the Sino-Forest stock, a number of class-action lawsuits have been filed against Sino-

     Forest by Canadian and American shareholders and bondholders seeking billions of dollars in

     damages.

            48.      On November 15,2011, in conjunction with the publication of the Second Interim

     Independent Committee Report, Sino-Forest armounced that it was deferring the release of its

     third quarter ("Q3") results until certain issues could be resolved to the satisfaction of the Board

     of Directors.

            49.        The company also stated that "[t]he circumstances that could cause the Company

     to be unable to release the Q3 Results also could impact the Company's historic financial

     statements." The company's third quarter 2011 results still have not been released.

             50.       In addition to indefinitely deferring the release of its 2011 third quarter results,

     Sino-Forest did not pay a $9.775 million interest payment on a convertible bond due on

     December 15, 2011, putting the company in breach of debt covenants and raising the prospect of

     insolvency proceedings. Moody's, Standard & Poors, and Fitch have all withdrawn their ratings

     of Sino-Forest.

              Defendants Failed to Conduct Dne Diligence Before Purchasing Sino-Forest
                and Then Failed to Properly Monitor It While Holding the Investment

             51.       Defendants had a fiduciary duty of care to conduct appropriate due diligence on

     Sino-Forest before investing assets of the Plaintiff and members of the Class to acquire that

     stock. They also had a duty to continually monitor the investment in Sino-Forest throughout the

     duration of its ownership.




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            52.     As Sino-Forest proceeds toward potential insolvency, it is clear that Defendants

     failed to conduct the due diligence that would have allowed Defendants to identify Sino-Forest's

     problems so as to prevent Plaintiff and Class members from suffering the losses they incurred.

             53.        Defendants failed to conduct on-the-ground research to gain a proper

     understanding of Sino-Forest's business model and to test the accuracy of its public disclosures.

     Defendants failed to apprise themselves of the material issues revealed in the Muddy Waters

     Report, which Muddy Waters prepared after just two months of research and with far less

     resources than Defendants have at their disposal. Defendants had ample financial resources to

     conduct appropriate due diligence on Sino-Forest.

             54.        Defendants failed to fulfill their basic duties to implement a process for

     conducting the appropriate due diligence regarding a foreign security in China -        especially one

     like Sino-Forest which possesses an opaque and convoluted business model- before investing

     in S ino-Forest.

             55.        In a conference call with investors on July 21,2011, Defendants, through their

     principal, John Paulson, conceded that the due diligence performed of Sino-Forest had been

     deficient. Defendants told investors that after Paulson Advantage Plus' hefty losses on Sino-

     Forest, Defendants intended to beef up their Asian research team and hire a specialist in the area

     concerning future investments. Defendants, through Paulson, acknowledged that Defendants did

     not know the region well, and admitted that the losses in Sino-Forest were of Defendants' own

     making. "We'll have to strengthen our research capabilities there," Paulson said. Defendants,

     through Paulson, also conceded that their research analysts had been hearing rumblings about

     problems at Sino-Forest for months, and that Defendants' trading desk had received requests to

     borrow the stock to short it. Defendants were trimming the Sino-Forest position when the



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     Muddy Waters Report hit. "I should have been more receptive to this information,'; Paulson

     said. Exhibit E, Reuters July 21,2011 article "Exclusive: Paulson Says Bets Were Too

     Aggressive. "

              56.    Defendants also owed Plaintiff and Class members the fiduciary duty of loyalty.

     Defendants breached that duty of loyalty by putting their own interest in generating large

     Management Fees and Incentive Allocations ahead of properly investigating the safety of the

     asset.

              57.    Plaintiff and Class members entrusted their funds to Defendants. By failing to

     adequately scrutinize Sino-Forest's business prior to investing in it, and then failing to heed

     warning signs that it might be in danger of a short sale and precipitous decline in price,

     Defendants failed to protect the investment of Plaintiff and the Class and caused losses in the

     individual capital accounts.

              58.    Defendants had superior knowledge and skill, and Plaintiff and Class members

     reposed trust and confidence in Defendants to prudently manage their investment assets.

              59.    As investment management professionals, Defendants knew or should have

     known how to carry out their fiduciary duties by monitoring the safety' and performance of

     Plaintiffs and Class members' assets in a prudent and professional manner.

              60.    Defendants had responsibilities to establish appropriate procedures to conduct due

     diligence for all invest~ents in which they chose to invest Paulson Advantage Plus' assets.

     These procedures were to be applied in creating general oversight and transparency regarding

     how Paulson Advantage Plus' assets were being invested. Defendants were also responsible for

      seeing that these procedures and guidelines, if any, were in fact being followed.




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            61.     Defendants failed to act on their duties in that they failed to discover, or simply

     disregarded significant red flags surrounding Sino-Forest, including the red flags discovered by

     Muddy Waters, Augment Partners and the company's own Independent Committee.

            62.     Defendants never made any meaningful effort to confirm that the Sino-Forest

     business model was legal under Chinese law, that Sino-Forest's reported timber holdings were

     accurately reported, that Sino-Forest actually owned those holdings, that the purported third-

     party transactions were arms-length, or that the company's financial statements were accurate

     and based on confirmed underlying data.

            63.     In addition, Defendants failed to divest Paulson Advantage Plus of its holdings in

     Sino-Forest despite the fact that prior to June 2, 2011, Defendants learned that Sino-Forest's

     stock was heavily targeted by short sellers. As a result, Plaintiff and Class members suffered

     substantiallosses in their individual capital accounts when the stock was sold after losing about

     70% of its value within two days after publication of the Muddy Waters Report.

             64.    Plaintiff and each ofthe Class members held their interests in Paulson Advantage

     Plus or one of its Platform Funds through June 1,2011, the last day before the publication of the

     Muddy Waters Report and its revelations about Sino-Forest's massive fraud.

             65.    Plaintiff has retained the undersigned counsel and is obligated to pay reasonable

     legal fees and costs.

             66.    All conditions precedent to bringing this action have been satisfied, waived,

     excused, performed, or otherwise have occurred.




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                                      CLASS ACTION ALLEGATIONS

                                                Class Definition

             67.     Plaintiff brings this action as a class action pursuant to Rule 23(a) and 23(b)(3) of

     the Federal Rules of Civil Procedure on behalf of himself and all Persons who (i) had a capital

     account with Paulson Advantage Plus or with one of its Platform Funds on June 2,2011, (ii)

     subsequently withdrew those funds and (iii) received redemption proceeds prior to the date of

     certification of a class (the "Class'').

             68.     Excluded from the Class are the Defendants herein and any person, firm, trust,

     corporation, or other entity related to or affiliated with Defendants.

                                                  Numerosity

             69.     Members of the Class are so numerous and geographically dispersed that joinder

     of all members is impracticable.

             70.      While the exact number of Class members remains unknown at this time, upon

     information and belief, thousands of investors had a capital account with Paulson Advantage

     Plus or with one of its Platform Funds on June 2, 2011 and subsequently withdrew their money

     from these accounts.

                                                   Typicality

             71.      Plaintiff s claims are typical of the claims of the Class members.in that Plaintiff

     and all Class members each trusted Defendants with investment of their assets in Paulson

     Advantage Plus or one of its Platform Funds .. Plaintiff and other Class members sustained

     damages due to the same breaches of fiduciary duties.




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            72.       Moreover, all Class members entered into identical or substantially similar form

     agreements with Platform Funds pursuant to which Defendants and the Platform Funds were

     entrusted with the investment and maintenance of the Class members' funds.

                                                    Adequacy

            73.       Plaintiff will fairly and adequately protect the interests of the Class and is

     committed to the vigorous prosecution of this action. Plaintiff has retained counsel that is

     competent and experienced in hedge-fund-related class action litigation.

                                                  Commonality

            74.       There are questions of law and fact that are common to the claims of Plaintiff and

     the entire Class, which include but are not limited to the following:

                          a. whether Defendants breached fiduciary duties to Plaintiff and the Class

                   and were grossly negligent in investing and maintaining Plaintiff's and Class

                   members' funds in Sino-Forest;

                          b. whether Defendants have been unjustly enriched by the Management Fees

                   and Incentive Allocations collected in connection with the investment and'

                   maintenance of Plaintiffs' and Class members' assets in Paulson Advantage Plus'

                   investment in Sino-Forest;

                          c. whether the Class has sustained damages as a result of the conduct alleged

                   herein and, if so, what is the proper measure of such damages.

                                                 Predominance

             75.       The questions of law and fact common to the Class predominate over questions of

     law or fact, if any, affecting only individual members of the Class. For example, the primary




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     questions that will determine liability in this case are common ones, including but not limited to

     the following:

                             a. whether Defendants breached fiduciary duties to Plaintiff and the Class

                   and were grossly negligent in investing Plaintiffs and Class members' funds in Sino-

                   Forest;

                             b. whether Defendants have been unjustly enriched by the Management Fees

                   and Incentive Allocations collected in connection with the investment and

                   maintenance of Plaintiff's and Class members' assets in Paulson Advantage Plus

                   while that fund held its investment in Sino-Forest; and

                             c. whether the Class has sustained damages as a result of the conduct alleged

                   herein and, if so, what is the proper measure of such damages.

                                                          Superiority

             76.      A class action is superior to other available methods for the fair and efficient

     adjudication of the Class claims herein asserted because:

                             a. joinder of the hundreds if not thousands of Class members is

                   impracticable;

                             b. individual claims by the Class are impractical because the cost of pursuing

                   individual claims could exceed the value of what each Class member has at stake

                   such that individual Class members have neither the interest in, nor the ability to,

                   prosecute and control separate actions; and

                             c. the interests of justice will be best served by resolving the common

                   disputes of potential Class members in this single, competent forum.

             77.       There will be no difficulty in the management of this action as a class action.



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                                                   COUNT I
                                          (Breach of Fiduciary Duty)

            7S.       Plaintiff incorporates paragraphs 1 through 77 as if fully set forth herein.

            79.       Plaintiff and members of the Class reposed trust and confidence in Defendants to

     prudently invest their assets. Defendants owed Plaintiff and Class members fiduciary duties of

     utmost good faith, loyalty and due care based upon their relationship.

            SO.       As investment management professionals, Defendants owed Plaintiff and the

     Class, among other things, the following duties:

                          a. To take all reasonable steps to oversee that the investments of Plaintiff and

                   Class members were made and maintained in a prudent and professional manner;

                          b. To take reasonable steps and observe the strictest of formalities in seeking

                   to preserve for Plaintiff and Class members the value of their investments;

                          c. To perform all necessary due diligence of investments made with

                   Plaintiff's and class members' funds, and to maintain oversight and transparency over

                   those investments; and

                           d. To exercise generally the degree of prudence, caution, and good business

                   practices that would be expected of reasonable investment professionals overseeing

                   client funds.

             SI.       Defendants were grossly negligent and breached their fiduciary duties in at least

     the following ways:

                           a. speculating that Sino-Forest would be a short-term investment and, with

                   reckless indifference to the preservation of Plaintiffs and Class members' money,

                   failing to conduct any real due diligence of the company before Sino-Forest's stock

                   was purchased in 2007;


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                     b. after Sino-Forest's rumored acqtrisition never materialized, recklessly

              investing even more of Plaintiff's and Class members' money in Sino-Forest without

             properly monitoring or conducting ongoing due diligence of the company;

                     c. acting with reckless indifference by failing to apply the considerable

             resources at their disposal to conduct due diligence and identify the numerous red

             flags that others in the industry such as Muddy Waters identified, including but not

              limited to the following:

                                i.        that the value of Sino-Forest's assets were overstated;

                               ii.        that the scope of its holdings in China were overstated;

                              iii.         that the company does business through a complex network

                         of authorized intermediaries and suppliers who own andlor control the

                         land on which Sino-Forest purportedly had contractual rights over the

                         timber. This network was so opaque that even the company's own

                         Independent Committee could not determine whether the entities operated

                         at arms-length;

                               iv.         that the company's fundamental business model may be

                          illegal under Chinese law;

                               v.          that the company has no internal auditing function;

                               vi.         that the company gained its listing on the Toronto Stock

                          Exchange througha reverse takeover; and

                      d. putting their own interest in generating large Management Fees and

              Incentive Allocations ahead of properly investigating the safety of the asset.




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             82.      As a direct and proximate result of Defendants' grossly negligent breaches of

     fiduciary duty, Plaintiff and the Class have suffered damages and are entitled to recover their

     damages from Defendants.

             83.      Moreover, Defendants are liable for, and Plaintiff and Class Members are entitled

     to, punitive damages in an amount to be determined at trial attributable to conduct by Defendants

     that was reckless, willful, wanton and without regard to the rights of Plaintiff and the Class.

                                                 COUNT II
                                              (Gross Negligence)

             84.      Plaintiff incorporates paragraphs I through 77 as if fully set forth herein.

             85.      As fund managers responsible for investing Plaintiff's and Class members'

     money, Defendants owed a duty to manage and monitor the assets of Plaintiff and the Class with

     reasonable care, and to purchase an investment only after sufficient, careful and diligent studying

      of such investment.

             86.      Defendants acted in a grossly negligent manner by breaching those duties and

      failing to comply with their own rules and standards of conduct and supervision. Defendants

      acted grossly negligent by, among other things:

                          a. speculating that Sino-Forest would be a short-term investment and, with

                   reckless indifference to the preservation of Plaintiff s and Class members' money,

                   failing to conduct any real due diligence of the company before Sino-Forest's stock

                   was purchased in 2007;

                          b. after Sino-Forest's rumored acquisition never materialized, recklessly

                   investing even more of Plaintiff's and Class members' money in Sino-Forest without

                   properly monitoring or conducting ongoing due diligence of the company;




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                         c. acting with reckless indifference by failing to apply the considerable

                  resources at their disposal to conduct due diligence and identify the numerous red

                  flags that others in the industry such as Muddy Waters identified, including but not

                  limited to the following:

                                    1.        that the value of Sino-Forest's assets were overstated;

                                   ii.        that the scope of its holdings in China were overstated;

                                  iii.        that the company does business through a complex network

                             of authorized intermediaries and suppliers who own and/or control the

                             land on which Sino-Forest purportedly had contractual rights over the

                             timber. This network was so opaque that even the company's own

                             Independent Committee could not determine whether the entities operated

                             at iums-length;

                                   iv.         that the company's fundamental business model may be

                              illegal under Chinese law;

                                   v.          that the company has no internal auditing function;

                                   vi.         that the company gained its listing on the Toronto Stock

                              Exchange through a reverse takeover; and

                          d. putting their own interest in generating large Management Fees and

                  Incentive Allocations ahead of properly investigating the safety of the asset.

            87.       As a direct and proximate result of Defendants' gross negligence, Plaintiff and

     Class members have suffered damages and are entitled to recover their damages from

     Defendants.




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                                                COUNT III
                                            (Unjust Enrichment)

               88.   Plaintiff incorporates paragraphs I through 77 as if fully set forth herein.

               89.   During the time that Paulson Advantage Plus was invested in Sino-Forest,

     Plaintiff and Class members' capital accounts were charged millions of dollars in Management

     Fees and Incentive Allocations fees for investing Plaintiffs assets in the fund, which fees

     Defendants knowingly and voluntarily accepted and retained the substantial benefit of.

               90.   Plaintiff and Class members have conferred a benefit on Defendants in the form

     of these Management Fees and Incentive Allocations.

               91.   The circumstances under which Defendants received these benefits - in exchange

     for Defendants' abject failure to perform its duties relating to the Sino-Forest investment in a

     reasonably diligent fashion - render Defendants' retention of the benefits inequitable.

               92.   Defendants have therefore been unjustly enriched. Equity and good conscience

     require Defendants to disgorge to all such unjust enrichment in an amount to be determined at

      trial.

               93.   Accordingly, Plaintiff and Class members seek full restitution of Defendants'

     enrichment, benefits and ill-gotten gains acquired as a result of the unlawful and wrongful

     conduct alleged herein.

                                          PRAYER FOR RELIEF

               WHEREFORE, Plaintiff demands judgment:

               A.    Determining that this action is a proper class action, and certifying Plaintiff as

      class representative under Fed. R. Civ. P. 23;




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            B.      Awarding compensatory damages against Defendants in favor of Plaintiff and the

     Class for damages sustained as a result of Defendants' wrongdoing, together with interest

     thereon;

            C.      Awarding disgorgement of all fees paid to Defendants during the time that

     Paulson Advantage Plus held its investment in Sino-Forest stock;

             D.      Awarding pre- and post-judgment interest;

            E.      Awarding punitive damages as appropriate;

             F.      Awarding equitable andlor injunctive relief as permitted by law;

             O.     Awarding Plaintiff and the Class their recoverable costs and disbursements of this

     suit; and

             H.      Awarding such other and further relief as may be just and proper.

                                       DEMAND FOR JURY TRIAL

             Plaintiff demands trial by jury as to all issues so triable as a matter of right.

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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 17th day of May, 2012, the foregoing was

     electronically filed with the Clerk of the Court using CMIECF which will send a notice of

     electronic filing to: Hilarie Bass, Esq., Timothy A. Kolaya, Esq., Greenberg Traurig, P.A., 333

     S.B. 2nd Avenue, Suite 440Q, Miami, Florida 33131 and Richard A. Edlin, Esq., Greenberg

     Traurig, L.L.P., MetLife Building, 200 Park Avenue, New York, New York 10166.



                                                 sl Jason Kellogg
                                                     Jason Kellogg




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